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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 RUBY FREEMAN, et al.,

                        Plaintiffs,

                        v.                           Civil Action No. 21-3354 (BAH)

 RUDOLPH W. GIULIANI.,                               Judge Beryl A. Howell

                        Defendant.




                          MEMORANDUM OPINION AND ORDER

       Civil society rests on the ability of courts to resolve disputes between private parties,

subject to governing substantive law and procedural rules that “secure” for the disputing parties

“the just, speedy, and inexpensive determination of every action.” FED. R. CIV. P. 1; see Runkle v.

Nong Kimny, 266 F.2d 689, 693 (D.C. Cir. 1959) (“[T]he purpose of the Federal Rules of Civil

Procedure is to afford the litigant a just, inexpensive and speedy trial of issues[.]”). Paramount to

fulfill the goals for which the procedural rules were designed is that parties to civil litigation

comply fully and timely with their discovery obligations, an obligation that extends to non-parties

brought into the litigation, pursuant to Federal Rule of Civil Procedure 45, to supply relevant

testimony and documents for a fair appraisal of the facts and a “just” determination. Even when

litigants and non-parties would prefer to do something—or anything—other than spend time and

effort complying with discovery obligations, they must do so in service to the rule of law.

       Lawyers have a special professional obligation to ensure compliance with the procedural

rules because “[a] lawyer, as a member of the legal profession, is a representative of clients, an

officer of the legal system and a public citizen having special responsibility for the quality of


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justice.” ABA Model R. Prof’l Conduct, Preamble [1] (2023); see FED. R. CIV. P. 11 (c)(1)

(authorizing imposition of “appropriate sanction on any attorney, law firm or party that violated

. . . or is responsible for the violation” of Rule 11(b), which describes sanctionable attorney

representations); FED. R. CIV. P. 11(d) (making Rule 11 sanctions inapplicable to “disclosures and

discovery requests, responses, objections, and motions under Rules 26 through 37”). Lawyers who

fail to fulfill their professional obligations to ensure diligent compliance with discovery obligations

frustrate the purposes of the procedural rules and therefore may be specially targeted for sanctions,

including payment of reasonable attorney’s fees and costs caused by the failure. See FED. R. CIV.

P. 26(g)(3); FED. R. CIV. P. 37(a)(5)(A), (d)(3), (f).

        Since initiation of the instant lawsuit in December 2021, plaintiffs Ruby Freeman and

Wandrea Arshaye Moss, who worked as election workers for Fulton County, Georgia during the

2020 election, have vigorously sought to obtain discovery relevant to their three claims of

defamation, intentional infliction of emotional distress, and civil conspiracy for all alleged torts,

see Compl., ECF No. 1; Am. Compl., ECF No. 22, arising from defendant Rudolph W. Giuliani's

alleged “campaign to undermine the legitimacy of the 2020 election,” as part of which “Giuliani

made a litany of statements and accusations against plaintiffs concerning their activities as election

workers[.]” Freeman v. Giuliani, No. CV 21-3354 (BAH), 2022 WL 16551323, at *1 (D.D.C. Oct.

31, 2022). 1 Since discovery in this case began, however, plaintiffs have confronted obstacle after

obstacle in their quest to obtain discoverable information, necessitating their filing of two separate

motions to compel discovery from Giuliani and his businesses, Pls.’ Mot. to Compel Discovery,

ECF No. 44; Revised Pls.’ Mot to Compel Giuliani Partners and Giuliani Communications to



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         The factual background of this case is detailed in this Court’s Memorandum Opinion denying defendant
Giuliani’s motion to dismiss in Freeman v. Giuliani, No. CV 21-3354 (BAH), 2022 WL 16551323 (D.D.C. Oct. 31,
2022).

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Respond to Plaintiffs’ Properly Served Rule 45 Subpoenas, ECF No. 70, as well as a motion for

sanctions, Pls.’ Mot. for Discovery Sanctions, ECF No. 81, and requiring, thus far, five separate

Court Orders to secure Giuliani’s compliance with his discovery obligations, see Minute Orders

(May 19 and 31, June 22 and 23, and July 13, 2023).

       Giuliani’s recalcitrant discovery conduct, however, is not the only hurdle plaintiffs have

had to overcome. Individuals not named as defendants in this litigation but who nonetheless were

part of the effort by Giuliani, and others, to sow doubt in the legitimacy of the 2020 election have

also thwarted plaintiffs’ efforts to obtain relevant information and evidence, necessitating repeated

intervention by this Court. See, e.g., Minute Order (Dec. 20, 2022) (authorizing plaintiffs to serve

Katherine Friess with a Rule 45 Subpoena via alternate means after plaintiffs spent considerable

resources to serve Freiss “ten times over four months at six different addresses in three different

states”); Minute Order (May 10, 2023) (authorizing plaintiffs to serve Jenna Ellis with a Rule 45

Subpoena via alternate means after plaintiffs spent considerable resources to “serve her three times

at an address where she is believed to have recently resided and where her mother currently

resides”).

       Most recently, plaintiffs identified in their pending motion to compel, see Pls.’ Mot. to

Compel (“Pls.’ Mot.”), ECF No. 63, yet another Giuliani associate to stand in their way to

obtaining the discovery to which they are entitled under the procedural rules: non-party Bernard

Kerik, who, during the period between December 3 and 28, 2020, “used his Twitter account to

publish false accusations about” plaintiffs, including video of them and using the plaintiffs’ names.

Id. at 2–4; see, e.g., id. at 3 (screenshot of Kerik tweet, dated “Dec. 14, 2020,” stating, “Ruby

Freeman and her daughter in Georgia have yet to be questioned before a grand jury and there’s

been no #MSM coverage of their alleged crimes that were seen around the world. #coverup



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#censorship #Election 2020 #StopTheSteal2020”). Kerik seems to have successfully ducked over

a dozen attempts by plaintiffs to serve him with a Rule 45 subpoena for discovery—at a cost to

plaintiffs of “an estimated over $15,000,” id. at 6 n.5—from August 2022 until November 14,

2022, when Kerik’s counsel, Timothy C. Parlatore, who had been communicating with contact

with plaintiffs’ counsel, finally agreed to accept service on his client Kerik’s behalf, id. at 5–6.

       As detailed below, Kerik has remained recalcitrant in complying fully with his discovery

obligations. Consequently, after ten months of effort to obtain relevant information from Kerik,

on June 9, 2023, plaintiffs were again forced to resort to filing the pending motion, under Federal

Rule of Civil Procedure 37, to compel Kerik to produce a document-by-document privilege log

and to produce documents and testimony improperly withheld as privileged. This motion was

initially ignored by Kerik and his counsel.

       When Kerik failed to file a timely response, the Court afforded Kerik an extended

opportunity to respond to plaintiffs’ motion to compel, by directing him to show cause why

plaintiffs’ motion should not be granted as conceded. See Order To Show Cause (“OTSC”) (Jun.

26, 2023). Before the OTSC deadline, on June 28, 2023, Parlatore filed a brief, seven-paragraph

declaration on Kerik’s behalf, opposing the motion to compel for two claimed procedural reasons:

(1) that the motion was never served on Kerik, such that his failure to oppose plaintiffs’ motion

was not untimely and he in fact had no obligation to respond; and (2) that the motion “was filed in

the wrong Court.” Declaration of Timothy C. Parlatore ¶¶ 2-4, 7 (“Parlatore Decl.”), ECF No. 74.

Additionally, Kerik shifts any blame for shortfalls in his production of responsive records and an

adequate privilege log to the putative privilege holders—the presidential campaign for Donald J.

Trump and defendant Giuliani—as the persons responsible for deciding “whether a claim of




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privilege is to be waived[,]” since Kerik is “a non-attorney investigator on the legal team[.]” Id.

¶ 5.

       For the reasons outlined below, Kerik’s justifications for failing to respond to plaintiffs’

motion are incorrect as a matter of law and, given the apparent inadequacy of his discovery

compliance, plaintiffs’ motion to compel is granted in part and reserved in part.

I.     BACKGROUND

       Summarized below is factual and procedural background relevant to resolving plaintiffs’

motion.

          Kerik has a long-term close association with Giuliani and worked with Giuliani, at the

latter’s request, “to ‘come back and assist him’ in efforts to challenge the results of the 2020

presidential election.” Pls.’ Mot. at 1 (quoting Decl. of M. Annie Houghton-Larsen in Supp. Pls.’

Mot. to Compel (“Houghton-Larsen Decl.”), Ex. 3, Excerpts from Dec. 7, 2022, Testimony of

Bernard Kerik before the District of Columbia Court of Appeals Board on Professional

Responsibility, in In re Giuliani, No. 22-BD-027 (“Kerik DCCA Tr.”) at 821:14–822:3, ECF No.

63-4). Kerik, as plaintiffs say, “answered that call and became, in his own words, ‘the primary

investigator and coordinator’ for Defendant Giuliani’s post-2020 election efforts,” and “was ‘one

of the main people funneling information’ to Defendant Giuliani[.]” Id. (quoting Kerik DCCA Tr.

at 824:6–7, 825:2–7). As noted, in the wake of the 2020 election, Kerik also “publish[ed] false

accusations about [plaintiffs] similar to those . . . published by Defendant Giuliani.” Pls.’ Mot. at

2–3; see, e.g., id. at 2 (screenshot of Kerik’s Tweet on December 3, 2020, in which Kerik wrote,

“Democratic poll workers waited until the coast was clear, before pulling out containers of ballots

and counting them without republican monitors. #Evidence of a #crime”).




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       Given Kerik’s admitted and public role in assisting Giuliani in the misinformation

campaign about the results of the 2020 presidential election that allegedly involved publication of

alleged defamatory information about plaintiffs, he is plainly an important source of relevant

information to them. For this reason, plaintiffs made over a dozen attempts over four months to

serve Kerik with a Rule 45 subpoena, dated August 3, 2022 (“First Kerik Subpoena”). While that

service effort was underway and Kerik’s counsel refused to accept service, Parlatore, “as a

courtesy,” on August 5, 2022, “reactivated” a public link to a collection of the 53 documents,

including a privilege log (“Kerik Privilege Log”), that Kerik had provided to the House of

Representatives Select Committee to Investigate the January 6th Attack on the U.S. Capitol. See

Houghton-Larsen Decl., ¶¶ 3, 5 ECF No. 63-1. This effort was too little to do much and, a week

later, plaintiffs advised Parlatore that “the 53 documents were insufficient to fulfill Mr. Kerik’s

discovery obligations” in response to the document requests made specifically in this litigation,

id., and, to demonstrate this point, showed Parlatore “examples of emails produced during

discovery that were sent to Mr. Kerik but were not present in his production to the Select

Committee.” Id. ¶¶ 5, 6.

       Over three months after Parlatore agreed, on November 14, 2022, to accept service of the

First Kerik Subpoena, Parlatore alerted plaintiffs’ counsel, on February 24, 2023, that acceptance

of service was actually only on condition that any deposition take place virtually. Id. ¶ 8. Rejecting

this new condition, plaintiffs proceeded to serve Kerik personally, on March 5, 2023, with a second

subpoena for records and deposition testimony (“Second Kerik Subpoena”), with the deposition

noticed for March 20, 2023, in New York, N.Y. Id. ¶ 8. Notably, at Parlatore’s request that the

deposition take place in Washington, D.C., id. ¶ 9, a third subpoena, dated March 15, 2023, was

issued to Kerik for documents and his deposition, on the same date set out in the Second Kerik



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Subpoena of March 20, 2023, in the district Kerik and Parlatore requested, here in Washington,

D.C. Id. ¶ 20; id., Ex. 8 (“Third Kerik Subpoena”), ECF No. 63-9. Parlatore accepted service of

the Third Kerik Subpoena, that was issued at Parlatore’s request, on behalf of his client. Pls.’ Mot.

at 7 (explaining that plaintiffs “served Mr. Kerik via email to his counsel[] with” the Third Kerik

Subpoena); Houghton-Larsen Decl., Ex. 7 at 5 (March 15, 2023 Email from Parlatore to Plaintiffs’

Counsel stating, “I do accept service [on behalf of Mr. Kerik],” referring to the Third Kerik

Subpoena), ECF No. 63-8. Plaintiffs’ pending motion to compel seeks Kerik’s compliance with

the Third Kerik Subpoena for responsive records and deposition testimony.

       Kerik sat for his deposition, on March 20, 2023, in Washington, D.C., but even by that late

date, had still produced no documents in response to the specific discovery requests in this case

nor did he do so at his deposition, beyond those 53 records produced to the Select Committee.

This is not because he had no documents to produce. To the contrary, Kerik testified at his

deposition that he maintains an electronic folder of documents related to his investigation into

election issues and that he reviewed that folder in preparation for his deposition to refresh his

recollection. Houghton-Larsen Decl., Ex. 2, Excerpts from March 20, 2023 Deposition of Bernard

Kerik (“Kerik Dep. Tr.”) at 13 (Kerik testifying that in preparation for the deposition he

“[b]asically just looked over some notes that I have. . . . I have a file, a file that has a bunch of

material from the election of 2020 . . . It’s an electronic file . . . They’re documents that were

collected throughout the investigation, subsequent to the investigation.”), ECF No. 63-3; accord

id. at Ex. 10, March 27, 2023 Letter from Plaintiffs’ Counsel to Parlatore at 1 (making the same

observation), ECF No. 63-11.

       According to plaintiffs, Kerik is “withholding documents and testimony based on

purported privilege grounds,” Pls.’ Mot. at 5 (capitalization omitted), and “has never produced a



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privilege log that complies with [Federal] Rule [of Civil Procedure] 26, or even one that is

addressed to the documents responsive to Plaintiffs’ requests.” Id. at 12. After attempting to

confer repeatedly with Parlatore, regarding, in plaintiffs’ view, Kerik’s document production

deficiencies, lack of a detailed privilege log, and improperly withheld deposition testimony,

plaintiffs filed their pending Motion, on June 9, 2023, seeking to compel Kerik’s compliance with

his discovery obligations. See generally id. At the time plaintiffs filed their instant motion, Kerik

had produced only “the 53 [publicly] available documents produced to the Select Committee,”

Houghton-Larsen Decl. ¶ 10, and the privilege log produced to the Select Committee, id., Ex. 6

(Kerik Privilege Log), ECF No. 63-7.

       Aside from attorneys’ fees and costs for filing the motion, plaintiffs seek three forms of

relief. First, plaintiffs seek a detailed compliant privilege log from Kerik. See Pls.’ Mot. at 1. The

Kerik Privilege Log produced to the Select Committee and then passed along to plaintiffs lists 302

records withheld on a categorical basis, rather than a document-by-document, basis, without

specifying for each document any precise dates, specific names of recipients or authors, or the

type, subject, title, or length of the withheld document or communication that would enable

assessment of the privilege asserted.

       Second, plaintiffs request that Kerik be ordered to produce 43 documents reflected on the

Kerik Privilege Log as being withheld on attorney work product privilege grounds, and generally

described as “37 ‘internal communications related to external messaging,’ five ‘internal emails

about legislature meetings’ and ‘packets of evidence that accompany affidavits[.]’” Pls.’ Mot. at

14 (quoting Kerik Privilege Log). The Kerik Privilege Log is murky as to the basis for withholding

the 43 withheld records under the work product privilege, instead baldly asserting that these

records were, for example, “communications made by the election investigation legal team in



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anticipation of litigation,” with no additional explanation or specification of the litigation

anticipated. See, e.g., Kerik Privilege Log at 1. Based on these vague descriptions in the Kerik

Privilege Log of these 43 withheld documents, plaintiffs argue that documents “created for

purposes of ‘external messaging’ and ‘legislature meetings’ do not constitute legal work product,”

because the work product doctrine “protects only documents created ‘for the purpose of assisting

an attorney in preparing for litigation, and not for some other reason.’” Pls.’ Mot. at 15 (italics in

original) (quoting Alexander v. FBI, 192 F.R.D. 42, 46 (D.D.C. 2000)). With respect to the

documents described as “packets of evidence that accompany affidavits,” plaintiffs argue that these

documents cannot be privileged because “factual matter in a document only warrants work product

protection if it reflects an attorney’s mental processes—there is no reason to believe that the

packets of evidence reflect any attorney mental processes.” Id. at 17 (italics in original) (citing

See United States v. All Assets Held at Bank Julius Baer & Co., 315 F.R.D. 103, 109 (D.D.C.

2016)).

          Finally, plaintiffs request that Kerik be required to provide testimony that he withheld

during his deposition. Id. at 1. Plaintiffs explain that “Parlatore instructed Mr. Kerik not to answer

four categories of questions based on work product privilege that related to: (1) The purpose of the

Giuliani Team’s efforts[;] (2) [t]he work [Kerik] performed in six swing states, including

Georgia[;] (3) [t]he methods of communication used by the Giuliani Team[;] and (4) [t]he

members and roles of the Giuliani team[.]” Pls.’ Mot. at 7–8 (citations omitted) (together, the

“Withheld Topics”). 2 Parlatore directed Kerik not to respond to questions regarding these topics

because they touch on the Giuliani Team’s “investigations in anticipation of litigation.” See, e.g.,



2
         Plaintiffs define “The Giuliani Team” as “Kerik, together with the other individuals assisting Mr. Giuliani
with his post-2020 Presidential election efforts.” Pls.’ Mot. at 2.


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Kerik Dep. Tr. at 43:5-10 (Parlatore stating, “Do you not hear what I was just saying? . . . To the

extent that they are doing investigations in anticipation of litigation, that is work product.”).

        As already noted, the deadline for response to plaintiffs’ pending motion passed without a

peep from Kerik or his counsel. Only after the Court issued an order to show cause why this

motion should not be granted did Parlatore, in response to that OTSC, submit his brief seven-

paragraph declaration opposing plaintiffs’ motion. See Parlatore Decl. On June 28, 2023, the

same day this declaration was filed, Parlatore also produced to plaintiffs 19 of the 43 withheld

documents, which plaintiffs disputed as plainly not subject to privilege or work product

protection—leaving 24 of the original 43 documents still withheld—and a revised privilege log,

showing the withholding of, by the Court’s estimation, 400 documents. Pls.’ Resp. to Parlatore

Decl. (“Pls.’ Resp.”), at 8, ECF No. 79; see Declaration of M. Annie Houghton-Larsen Supp. Pls.’

Resp. to Timothy Parlatore’s Decl. (“2nd Houghton-Larsen Decl.”), Ex. 3 at 1, June 28, 2023

Email from Parlatore to plaintiffs’ counsel (providing an updated privilege log and “documents

that [defendant and Kerik] are not asserting privilege over”), ECF No. 79-4; id., Ex. 4, Revised

Kerik Privilege Log by Bernard Kerik (“Revised Kerik Privilege Log”), ECF No. 79-5. 3 While

Kerik is now asserting privilege claims “on an individual basis,” plaintiffs point out that the

Revised Kerik Privilege Log remains inadequate by “not provid[ing] sufficient information to

allow Plaintiffs or the Court to assess the claims of privilege” because “[i]n the column ‘Nature

and Basis of Privilege Claim,’ Mr. Kerik repeats just 14 improperly vague ‘descriptions’—three




3
          Upon direction of the Court, see Minute Order (June 29, 2023) (as amended, Minute Order (June 30, 2023)),
plaintiffs submitted their response to the Parlatore Declaration, see Pls.’ Resp.


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of which only reflect that the document is being reviewed by counsel and provide no other

description as to why the document is being withheld.” Pls.’ Resp. at 9 (emphasis in original). 4

         In sum, after Kerik’s belated disclosures after the pending motion to compel had already

been filed, plaintiffs now seek immediate production of 24 of the 400 withheld documents as

improperly withheld as attorney work product (“the Withheld Records”), a rule-compliant

privilege log that provides sufficient description as to why each document is being withheld to

assess the basis for assertion of privilege or work product protection, since the fourteen repeated

descriptions provided in the Revised Kerik Privilege Log remain inadequate, and Kerik to provide

testimony on the Withheld Topics.

         Plaintiffs’ motion to compel is now ripe to resolve.

II.      DISCUSSION

         Parlatore’s belated response to plaintiffs’ motion to compel Kerik to comply with his

discovery obligations raises little contest as to plaintiffs’ critiques regarding the insufficiency of

Kerik’s document production to date and in response to the Third Kerik Subpoena, nor the

inadequacy of the Kerik Privilege Log. Indeed, the same day Parlatore filed his response to the

OTSC, he also “forwarded” additional documents and the Revised Kerik Privilege Log to

plaintiffs. Parlatore Decl. ¶ 6. Instead, this response raises two purely procedural bogeymen, both

of which prove chimerical, and one substantive objection, which falls flat on close inspection.

Parlatore’s Declaration turns out to be a paradigm of selective omission that has worked only to

delay further Kerik’s compliance with his Rule 45 discovery obligations. Given the documented




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         Since the Kerik Privilege Log described the basis for withholding on a categorical basis for groups of
documents, and the Revised Kerik Privilege Log does so on a document-by-document basis but without cross-
referencing the categories used in the Kerik Privilege Log, correlating any of the documents listed in the Revised
Kerik Privilege log to the grouped entries on the Kerik Privilege Log is virtually impossible, as is identifying which
documents on the Revised Privilege Log are the Withheld Records.

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record as set out by plaintiffs, with attached exhibits in the Houghton-Larsen Declarations, Kerik

and Parlatore’s procedural and substantive objections to the pending motion are without merit and

are rejected.

       First, Parlatore states in his declaration that plaintiffs’ motion was improperly filed in the

District of Columbia, because motions to compel compliance with discovery obligations must be

filed in “‘the district where compliance is required for an order compelling production or

inspection’—in this case, the District of New Jersey,” because “Kerik is a resident of New Jersey.”

Parlatore Decl. ¶ 4 (quoting Federal Rule of Civil Procedure 45(d)(2)(B)(i)). He therefore counsels

that “Plaintiff [sic] should file any motion to compel in the District of New Jersey, if they still

deem such a motion necessary.” Id. ¶ 7. This is incorrect and plaintiffs’ motion to compel is not

“filed in the wrong Court,” as Parlatore posits. Parlatore Decl. ¶ 4. Parlatore even concedes, id.,

that a motion to compel enforcement of a subpoena must be filed in “the district where compliance

is required.” FED. R. CIV. P. 45(d)(2)(B)(i); see also id. (advisory committee’s Notes to 1991

amendment) (explaining that litigation concerning subpoena compliance must “be presented to the

court for the district in which the deposition would occur”). Consistently, Federal Rule of Civil

Procedure 37(a)(2) provides that a motion to compel a nonparty “must be made in the court where

the discovery is or will be taken.”

       In this case, compliance with the Third Kerik Subpoena is in the District of Columbia rather

than where Kerik resides in New Jersey—and this is so at Parlatore’s request. Plaintiffs have

supplied the illuminating email correspondence their counsel exchanged with Parlatore, who

requested that the deposition of Kerik take place in Washington, D.C., a request to which plaintiffs

acceded. See Houghton-Larsen Decl., Ex. 7 at 6 (March 15, 2023 Email at 4:51 PM from Parlatore

to plaintiffs’ counsel, stating, “We can do Monday next week, if you want to just shift it to DC.”),



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ECF No. 63-8. In accord with Parlatore’s request, plaintiffs issued the Third Kerik Subpoena to

Kerik to sit for his deposition in Washington, D.C. See Third Kerik Subpoena at 2 (providing that

Kerik’s deposition is to occur at “1875 K St NW # 100, Washington, DC 20006” and that Kerik

or his representatives must bring responsive documents and ESI with them to the deposition).

Given that Kerik’s deposition took place in this District, and not New Jersey, the place of

compliance for the purposes of Rule 45(d)(2)(b)(i) is the District of Columbia. See United States

v. Preston, No. CV 13-00265 (RC), 2015 WL 13708609, at *2 (D.D.C. Aug. 24, 2015) (finding

the proper district to bring a motion to compel a non-party’s compliance with a subpoena was the

district where the deposition was taken).

         Second, Parlatore’s assertion in his declaration that Kerik was not properly served with

plaintiffs’ motion to compel, Parlatore Decl. ¶¶ 2-4, 7, and therefore that Kerik has not missed the

two-week deadline to respond, id. ¶¶ 2-3, is also incorrect. 5 Plaintiffs properly served Kerik with

their pending motion “via a first class mailing to the business address of his attorney, Mr. Parlatore,

as permitted by Rule 5.” Pls.’ Resp. at 1. To be sure, Federal Rule of Civil Procedure 45 generally


5
          Kerik raises no challenge to service of the Third Kerik Subpoena, but only to service of the pending motion
to compel, and therefore any challenge to the former is waived. See Ansur Am. Ins. Co. v. Borland, No.
321CV00059SMYMAB, 2022 WL 1605338, at *2 (S.D. Ill. May 20, 2022) (“By agreeing to accept service of the
subpoena via email and agreeing to coordinate compliance, Signature Hardware has waived any objection to
service.”); Rosales v. The Placers, Ltd., 2011 WL 846082, at *2 (N.D. Ill. March 8, 2011) (refusing to quash a non-
party subpoena on the grounds that it required compliance beyond a 100-mile radius because attorney for the non-
party “agreed to accept service of the [ ] subpoena without raising any objection to the 100–mile limitation”); Atlantic
Inv. Mgmt., LLC v. Millennium Fund I, Ltd., 212 F.R.D. 395, 397 (N.D. Ill. 2002) (refusing to quash a subpoena on
grounds that it was unsigned by the issuing attorney because the attorney for the non-party “responded in writing to
the subpoena, [ ] did not object to this deficiency, . . . [and] stated that the subpoena was accepted”); accord Cardinali
v. Plusfour, Inc., No. 216CV02046JADNJK, 2019 WL 3456630, at *6 (D. Nev. June 20, 2019) (finding objection that
non-party was not personally served with Rule 45 subpoena to be “baseless” the “subpoena was also served on the
attorney who represented” non-party); accord W. Schwarzer, A. Tashima, and W. Wagstaffe, Rutter Group Practice
Guide: Fed. Civ. Proc. Before Trial, National Edition, § 5:89 (2023) (noting “the common practice of attorneys
agreeing to accept service of process on behalf of a client-defendant,” which “is deemed served on the client”); cf.
Thanh Vong Hoai v. Sun Ref. & Mktg. Co., No. 87-2456 (LFO/PJA), 1989 U.S. Dist. LEXIS 6866, at *2–3 (D.D.C.
June 19, 1989) (“In the absence of proof of service on the person named therein, i.e., the person whose presence is
required, it would be inappropriate to require that person to show cause why he should not be held in contempt for
failure to comply with a subpoena not personally served on him since service on the witness’ attorney was a nullity,”
where the lawyer only represented the non-party in other matters) (emphasis in original).


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requires personal service of a subpoena on the non-party required to comply, see FED. R. CIV. P.

45(b)(1), not on that person’s counsel, unless counsel is authorized to accept service, see supra n.

5. The requirement of personal service of a Rule 45 subpoena does not apply to subsequent filings

to enforce that subpoena, including service of a motion to compel a non-party’s compliance.

       In this case, plaintiffs served both Kerik and his counsel with a copy of the pending motion

and its accompanying exhibits, on June 9, 2023, by first class mailing to the former’s last known

residential address and the latter’s place of business. Pls.’ Resp. at 3; see 2nd Houghton-Larsen,

Ex. 1, Affidavit of Ann Staron ¶¶ 4-5, ECF No. 79-2. Rule 5 provides that “[i]f a party is

represented by an attorney, service under this rule must be made on the attorney unless the court

orders service on the party,” FED. R. CIV. P. 5(b)(1) (emphasis added), by means including

“mailing it to the person’s last known address—in which event service is complete upon

mailing[,]” FED. R. CIV. P. 5(b)(2)(C); see also, e.g., Muhammad v. United States, No. CV 16-

1079 (TJK), 2019 WL 652400, at *5 (D.D.C. Feb. 15, 2019) (holding that filing was properly

served under Rule 5(b)(2)(C) when it was mailed to last known address and calculating deadlines

under the Federal Rules of Civil Procedure from date of mailing), aff’d, No. 19-5109, 2020 WL

873514 (D.C. Cir. Feb. 13, 2020); Kruger v. Cogent Commc’ns, Inc., No. CV 14-1744 (EGS),

2016 WL 11121058, *3 (D.D.C. Oct. 24, 2016) (service completed when the attorney was mailed

a copy of the discovery requests via first class mail); United States v. Kennedy, 133 F.3d 53, 59

(D.C. Cir. 1998) (explaining that “[s]ervice is deemed complete at the instant the document[]” is

properly posted and deposited for mailing). This is precisely what plaintiffs did here by mailing

the motion to compel to Parlatore. Plaintiffs also took the additional step of mailing Kerik a copy

of the pending motion, but Rule 5 did not so require them to do so. Service under Rule 5 was thus

satisfied by mailing the motion to Parlatore.



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       Parlatore baldly suggests in his declaration, without citation, that “the motion to compel

has never been served on Mr. Kerik,” Parlatore Decl. ¶ 2, but neither Rule 5 nor Rule 45 demands

personal service on a non-party witness of motion papers filed in court to enforce a subpoena. To

be sure, Rule 45 requires that “notice” be given to the non-party when an order is sought to compel

“the commanded person” to comply with a subpoena. See Fed. R. Civ. P. 45(d)(2)(B)(i). “Notice”

means just that, and not personal service, and courts have found that the notice requirement of

Rule 45 is satisfied by mailing a copy of the motion to the party. See, e.g., Schumacher v. Cap.

Advance Sols., LLC, No. 4:18-CV-0436, 2021 WL 391416, at *1 (S.D. Tex. Feb. 4, 2021)

(“Plaintiff filed the pending Motion to Compel and for Contempt on December 10, 2020, serving

it on Betta by certified mail.”); Abante Rooter & Plumbing, Inc. v. Poundteam Inc., No. 8:20-MC-

110-T-30SPF, 2021 WL 2430768, at *1 (M.D. Fla. Jan. 21, 2021) (observing that non-party was

notified of a motion to compel response to a Rule 45 subpoena via mail); Golden Krust

Franchising, Inc. v. Clayborne, No. 8:20-MC-104-T-33SPF, 2020 WL 7260774, at *1 (M.D. Fla.

Dec. 10, 2020) (same). No authority supports Parlatore’s position that personal service on a non-

party of a motion to compel compliance with a Rule 45 subpoena is required under governing

procedural rules. As plaintiffs correctly point out, “[t]he rule contemplates notice, not going

through the wasteful process of effectuating personal service of a motion on a party that has

already been served.” Pls.’ Resp. at 5 (emphasis in original).

       Not only was Parlatore on notice when plaintiffs mailed the pending motion to him due to

prior communications with plaintiffs’ counsel, but he apparently confirmed his knowledge of the

motion to a reporter, telling the reporter that he did not “really have time to waste on [this] case[.]”

Josh Kovensky & Hunter Walker, Bernie Kerik Pitched Mark Meadows on ‘$5 to $8’ Million Plan

To Reverse Trump 2020 Loss, TPM (June 15, 2023), available at https://perma.cc/UW6M-SCRJ.



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Meanwhile, as plaintiffs point out, during the time period “when plaintiffs were attempting to

confer with Mr. Parlatore regarding Mr. Kerik’s expansive privilege assertions, Mr. Parlatore

found time to sit for eleven media interviews addressing his other—apparently more important—

legal work[.]” Pls.’ Resp. at 5 n.2; (citing 2nd Houghton-Larsen Decl., Ex. 2 (Pls.’ Chart of

Timothy C. Parlatore’s Public Appearances and Statements for the Month of June 2023), ECF No.

69-3).

         Finally, Parlatore offers one substantive argument to defend Kerik’s failure to comply fully

with the Rule 45 subpoena, stating that “Kerik is not the privilege holder” of the withheld

documents and thus “[t]he decision of whether a claim of privilege is to be waived is not up to Mr.

Kerik, a non-attorney investigator on the legal team, but rather the attorney and, ultimately, the

client[,]” with the “attorney” being defendant Giuliani, and “client” the “Trump Campaign.”

Parlatore Decl. ¶¶ 5-6. Yet, Kerik and the privilege holders cannot withhold responsive records in

discovery indefinitely, using a fig leaf cover in the form of an inadequate privilege log. The rules

are designed to combat such a subversion of the discovery process by requiring putative privilege

holders to “bear[] the burden of proving the communications are protected,” In re Lindsey, 158

F.3d 1263, 1270 (D.C. Cir. 1998), by describing “the nature of the withheld documents,

communications, or tangible things in a manner that, without revealing information itself

privileged or protected, will enable the parties to assess the claim.” FED. R. CIV. P. 45(e)(2)(A)(ii).

         The Kerik Privilege Log, on which Kerik rested his discovery compliance for ten months,

was wholly inadequate and non-compliant and, as plaintiffs observe, the Revised Kerik Privilege

Log merely parrots fourteen vague descriptions of why each of the 400 withheld documents is

privileged.    For example, the Revised Kerik Privilege Log describes 117 documents as

“[c]onfidential document prepared at the direction of counsel for use in litigation,” without



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providing any information about the author, sender or recipient or identifying the litigation for

which the document to be used. See Pls. Resp. at 9 (quoting Revised Kerik Privilege Log). As

another example, 176 documents are described as “[c]onfidential communication discussing legal

strategy,” without explaining for what litigation or potential litigation the communication was

made. See id. (quoting Revised Kerik Privilege Log). Thus, Kerik has failed to provide sufficient

detailed explanations of the nature and basis of the privilege claims for each of the documents in

the Revised Kerik Privilege Log to withstand challenge. See In re Veiga, 746 F. Supp. 2d 27, 34

(D.D.C. 2010) (“[T]he proponent of the privilege must offer more than just conclusory statements,

generalized assertions, and unsworn averments of its counsel.”); Chevron Corp. v. Weinberg Grp.,

286 F.R.D. 95, 98 (D.D.C. 2012) (“From the entry itself the opposing party and ultimately the

judge should be able to tell that the information not being disclosed is properly claimed as

privileged.”) (brackets omitted); see also Nat’l Sec. Couns. v. CIA, 960 F. Supp. 2d 101, 193–95

(D.D.C. 2013) (Howell, J.) (finding the CIA’s privilege descriptions were insufficient for the court

to determine that the documents were sent for the purpose of securing an opinion on law, legal

services, or assistance in some legal proceeding).

       Failure to provide an adequate privilege log results in waiver of any otherwise asserted

privilege and work product protection. See In re Grand Jury Subpoena, 274 F.3d 563, 575–76 (1st

Cir. 2001) (“The operative language [of Rule 45(e)(2) ] is mandatory. . . . A party that fails to

submit a privilege log is deemed to waive the underlying privilege claim.”); Senate Permanent

Subcomm. on Investigations v. Ferrer, No. MC 16-621 (RMC), 2016 WL 11681577, at *1 (D.D.C.

Sept. 30, 2016) (collecting cases that demonstrate that when a party fails to file “a sufficiently

detailed privilege log to avoid the arbitrary withholding of subpoenaed information” the privilege

holder may “waive[] the claimed attorney-client and work product privileges”). Let there be no



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mistaken understanding: privilege waiver is the real risk that Kerik and the putative privilege

holders face here. As plaintiffs have detailed, the Revised Kerik Privilege Log still fails to provide

plaintiffs (and this Court) sufficient information to assess the validity of any basis for withholding,

so absent prompt submission of an adequate privilege log, any privilege claim to the 400

documents in the Revised Kerik Privilege Log—including the Withheld Records, wherever they

may fall on that Log—will be deemed waived.

III.   CONCLUSION

       In sum, Kerik and his counsel were properly served with plaintiffs’ pending motion to

compel, and plaintiffs filed their motion in the proper venue because the place for compliance with

the Third Kerik Subpoena is in the District. Furthermore, the mere fact that others, and not Kerik,

are the putative privilege holders over records in Kerik’s custody and control does not obviate

Kerik’s obligation to comply with the Third Kerik Subpoena by supplying an adequate privilege

log that provides sufficient description and explanation to justify why each record is in fact

privileged or protected attorney work product, bearing in mind that the burden is on the privilege

proponent to provide sufficient information to permit other parties and the Court to test the merits

of the privilege claim. For example, withholding records as protected work product without

providing information about the status as an attorney of any author, sender or recipient of the

record, plus the litigation pending or anticipated for which the record was prepared, may be

insufficient to justify such a claim. Kerik must also fully explain, which he has not done, his

failure to answer questions in his deposition on work product privilege grounds. Kerik’s excuses

for ignoring plaintiffs’ motion to compel therefore fail.

       Given that even with the additional time afforded by the Court beyond the otherwise

applicable deadline for response, Kerik has articulated no viable procedural or substantive



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objection to plaintiffs’ motion, see Parlatore Decl., the entirety of plaintiffs’ motion could be

treated as conceded, see D.D.C. LCvR 7(b) (authorizing, if no timely opposition is filed to a

motion, that “the Court may treat the motion as conceded”). Yet, giving Parlatore the benefit of

the doubt that his declaration reflected merely a misunderstanding of the applicable law rather than

an effort to delay further full compliance with his and his client’s discovery obligations, Kerik and

any putative privilege holders will be given a final opportunity to produce promptly responsive

records or an adequate privilege log justifying withholding of all responsive records and explain,

in particular, why the Withheld Records should not be immediately produced to plaintiffs, as they

request, and Kerik should not be directed to sit for another deposition and be directed to respond

to questions on the Withheld Topics. See Pls.’ Mot at 1 (outlining plaintiffs’ requested relief).

       Additionally, Kerik will be given an opportunity to explain and why he and Parlatore

should not be required to pay plaintiffs for attorneys’ fees and costs associated with the failure to

respond to the plaintiffs’ motion to compel. See Pls.’ Mot. at 20 (requesting costs and fees pursuant

to Rule 37); see also FED. R. CIV. P. 37(a)(5)(A) (“If the motion is granted—or if the disclosure or

requested discovery is provided after the motion was filed—the court must, after giving an

opportunity to be heard, require the party or deponent whose conduct necessitated the motion, the

party or attorney advising that conduct, or both to pay the movant’s reasonable expenses incurred

in making the motion, including attorney’s fees.”) (emphasis added). Until then, the remainder of

plaintiffs’ requested relief—requiring Kerik to produce the Withheld Records, sit for another

deposition, and pay for attorneys’ fees and costs for filing their motion—will be reserved.

IV.    ORDER

       Accordingly, for the foregoing reasons, it is—




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        ORDERED that Plaintiffs’ Motion to Compel, ECF No. 63, is GRANTED IN PART and

RESERVED IN PART; it is further

        ORDERED that, by July 25, 2023, Bernard Kerik is DIRECTED to produce to plaintiffs,

in consultation with any putative privilege holder, a document-by-document privilege log of any

withheld record that provides sufficient information to “enable other parties to assess the claim”

that “the information is privileged or subject to protection as trial preparation material,” FED. R.

CIV. P. 26(b)(5)A)(ii); it is further

        ORDERED that, by July 25, 2023, Bernard Kerik is DIRECTED to SHOW CAUSE why,

in consultation with any putative privilege holder, (1) any of the Withheld Records withheld under

attorney-work product privilege grounds should not be produced immediately to plaintiffs; (2) why

he should not be made available for a deposition to respond questions, and any follow up questions,

that he was instructed not to answer during his March 20, 2023 deposition on attorney-work

product protection grounds; and (3) why he and his counsel, Timothy C. Parlatore, should not be

required to reimburse plaintiffs for the attorneys’ fees and costs associated with the preparation

and filing of their motion to compel; and it is further

        ORDERED that the remainder of plaintiffs’ requested relief in their Motion to Compel,

ECF No. 63, is RESERVED.

        SO ORDERED.

Date: July 13, 2023

                                                          __________________________
                                                          BERYL A. HOWELL
                                                          United States District Court Judge




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